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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF NEW YORK
                             WATERTOWN DIVISION

April Guilder,                                      Case No.: 8:10-CV-0844(DNH/DRH)

         Plaintiff,
                                                       COMPLAINT FOR DAMAGES
v.                                                  UNDER THE FAIR DEBT COLLECTION
                                                       PRACTICES ACT AND OTHER
Delanor, Kemper & Associates, LLC,                         EQUITABLE RELIEF

         Defendant.
                                                     JURY DEMAND ENDORSED HEREIN

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a natural person that resided in Lewis, New York at all times relevant to this

     action.

3. Defendant is a Georgia Limited Liability Company that maintained its principal place of

     business in Atlanta, Georgia at all times relevant to this action.

4. Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6).

5. As described below, Defendant attempted to collect a debt from Plaintiff that Plaintiff

     allegedly owed in connection with a personal loan, which is a “debt” as defined by 15 U.S.C.

     §1692a(5)

6. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).




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7. On or around March 20, 2010, Defendant’s employee (“Maloney”) telephoned Plaintiff in

    connection with the collection of the debt.

8. During this communication, Maloney falsely represented that Plaintiff had been charged with

    fraud and could be sentenced to two years in jail.

9. During this communication, Maloney falsely represented that Plaintiff would have to appear

    in court on March 29, 2010 unless Plaintiff paid Defendant the entire balance of the debt by

    5:00pm that day.

10. Defendant caused Plaintiff emotional distress.

11. Defendant violated the FDCPA.

                                            COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

12. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

13. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

    which was to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

15. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

    in connection with the collection of the debt.

                                          JURY DEMAND

16. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

17. Plaintiff prays for the following relief:




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   a. Judgment against Defendant for actual damages, statutory damages, and costs and

      reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

   b. For such other legal and/or equitable relief as the Court deems appropriate.




                                    RESPECTFULLY SUBMITTED,

                                    By: /s/ Roger J. Yehl
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